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KNOWLES, M.J.
FEBRUARY 16, 2016

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

MARIE WILLIAMS                                                        CIVIL ACTION

VERSUS                                                                 NO. 15-3543

A T & T CORPORATION                                                    SECTION "I" (3)


       A settlement conference is scheduled in the above-captioned case on THURSDAY,

MARCH 17, 2016, at 9:30 A.M. in the undersigned U.S. Magistrate Judge's chambers, located

at 500 Poydras Street, Hale Boggs Building, Third Floor, Room B335, New Orleans,

Louisiana.

       On or before March 14, 2016, each party shall submit to the undersigned an in-camera

letter/memorandum, no longer than three pages double spaced, outlining their settlement

position. The letter/memorandum may be faxed directly to my chambers at 504-589-4500.

       Participation of parties is likely to increase the efficiency and effectiveness of the

settlement conference. Therefore, any party who resides or has a business address in the Greater

New Orleans area shall attend the conference in person with counsel. Parties from outside of the

Greater New Orleans area shall be available by telephone for the duration of the settlement

conference.

       It is the duty of the parties to notify the Magistrate Judge’s Office if trial is continued or

if this case is settled or otherwise disposed of prior to the date of the scheduled settlement

conference, so that the matter may be removed from the Court’s docket.
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Relaxed business attire is permitted on Fridays.



                                     ___________________________________
                                     DANIEL E. KNOWLES, III
                                     UNITED STATES MAGISTRATE JUDGE
